Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 1 of 27 Page ID #:1
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 2 of 27 Page ID #:2
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 3 of 27 Page ID #:3
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 4 of 27 Page ID #:4
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 5 of 27 Page ID #:5
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 6 of 27 Page ID #:6
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 7 of 27 Page ID #:7
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 8 of 27 Page ID #:8
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 9 of 27 Page ID #:9
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 10 of 27 Page ID #:10
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 11 of 27 Page ID #:11
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 12 of 27 Page ID #:12
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 13 of 27 Page ID #:13
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 14 of 27 Page ID #:14
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 15 of 27 Page ID #:15
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 16 of 27 Page ID #:16
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 17 of 27 Page ID #:17
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 18 of 27 Page ID #:18
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 19 of 27 Page ID #:19
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 20 of 27 Page ID #:20
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 21 of 27 Page ID #:21
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 22 of 27 Page ID #:22
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 23 of 27 Page ID #:23
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 24 of 27 Page ID #:24
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 25 of 27 Page ID #:25
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 26 of 27 Page ID #:26
Case 2:22-cv-02846-PA-MAA Document 1 Filed 04/28/22 Page 27 of 27 Page ID #:27
